      Case 2:13-cv-00193 Document 736 Filed on 11/17/14 in TXSD Page 1 of 3




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION

MARC VEASEY, et al,                  §
                                     §
             Plaintiffs,             §
VS.                                  §       CIVIL ACTION NO. 2:13-CV-00193
                                     §
RICK PERRY, et al,                   §
                                     §
             Defendants.             §

          DEFENDANTS’ NOTICE OF FILING OF TRIAL EXHIBITS

        Defendants submit this Notice of Filing of Trial Exhibits (DEF0201 –

DEF0238). An index of Defendants’ trial exhibits is attached as Exhibit 1 to ECF

Docket No. 681.

Dated: November 17, 2014




                                         1
Case 2:13-cv-00193 Document 736 Filed on 11/17/14 in TXSD Page 2 of 3




                               Respectfully submitted,

                               GREG ABBOTT
                               Attorney General of Texas

                               DANIEL T. HODGE
                               First Assistant Attorney General

                               JONATHAN F. MITCHELL
                               Solicitor General

                               J. REED CLAY, JR.
                               Special Assistant and Senior Counsel
                               to the Attorney General
                               Southern District of Texas No. 1160600


                               /s/ John B. Scott
                               JOHN B. SCOTT
                               Deputy Attorney General for Civil Litigation
                               Southern District of Texas No. 10418
                               Texas State Bar No. 17901500
                               ATTORNEY-IN-CHARGE

                               ADAM W. ASTON
                               Deputy Solicitor General
                               Southern District of Texas No. 2157041

                               G. DAVID WHITLEY
                               Assistant Deputy Attorney General
                               Southern District of Texas No. 2080496

                               STEPHEN RONALD KEISTER
                               Assistant Attorney General
                               Southern District of Texas No. 18580

                               JENNIFER MARIE ROSCETTI
                               Assistant Attorney General
                               Southern District of Texas No. 224780

                               LINDSEY ELIZABETH WOLF
                               Assistant Attorney General
                               Southern District of Texas No. 2292940



                                 2
    Case 2:13-cv-00193 Document 736 Filed on 11/17/14 in TXSD Page 3 of 3




                                     STEPHEN LYLE TATUM, JR.
                                     Assistant Attorney General
                                     Southern District of Texas No. 2338090

                                     209 West 14th Street
                                     P.O. Box 12548
                                     Austin, Texas 78711-2548
                                     (512) 475-0131

                                     BEN A. DONNELL
                                     Donnell, Abernethy & Kieschnick
                                     555 N. Carancahua, Suite 1770
                                     Corpus Christi, Texas 78401-0853
                                     Southern District of Texas No. 5689

                                     COUNSEL FOR THE STATE OF TEXAS,
                                     RICK PERRY, JOHN STEEN, and STEVE
                                     MCCRAW




                         CERTIFICATE OF SERVICE


       I hereby certify that on November 17, 2014, a true and correct copy of the
foregoing document was served via the Court’s ECF system to all counsel of record.




                                     /s/ John B. Scott
                                     JOHN B. SCOTT




                                        3
